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                     Exhibit 36
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Living Standards in the Palestinian Territories
         During the Second Intifada



   1999 – GNI per capita in the Middle East
       Israel                                     $16,490
       Palestinian Authority                      $ 1,730
       Jordan                                     $ 1,650
       Egypt                                      $ 1,290
       Syria                                      $ 890
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        Saudi Committee in Support of the Intifada al Quds

           Payment Comparison to Annual Income per Capita

                                              Saudi Committee
                                                 Payments
                                                                                                     Martyr
                                                2000 ‐ 2002                                        Payments



                                                                                                   $5,316
 GNI Per Capita in the
 Palestinian Authority
                                                                          Prisoner
                                                                          Payments


 1999
                                                                      $2,650
                                              Wounded
$1,730               2003                     Payments


                                             $1,329
                  $1,070
